Case 2:13-cv-00980-AB . Document 1-1 Filed 02/22/13 Page 1 of 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 12/12)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

FAVORITE HEALTHCARE STAFFING,

(b) County of Residence of First Listed Plaintiff JOHNSON, KANSAS

INC.

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
DAVID J. .NOONAN, 22 8"TRIANGLE ST.

AMHERST, MA 02002

NOTE:
THE TRACT OF LAND INVOLVED.

Attorneys (Jf Known)
UNKNOWN

ATLANTIC DIAGNOSTIC LSBORSTORIES, LLC

County of Residence of First Listed Defendant BUCKS COUNTY, PA

(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

It. BASIS OF JURISDICTION (Place an “X” in One Box Only)

O 1 U.S. Government 0
Plaintiff
O 2 US. Government 8

Defendant

3 Federal Question
(U.S. Government Not a Party)

4 Diversity
Cndicate Citizenship of Parties in Item i)

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State o1 4 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State oX2 2 Incorporated and Principal Place os 05
of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation 76 6

Foreign Country

IV. NATURE OF SUIT

“X” in One Box Only)

110 Insurance PERSONAL INJURY PERSONAL INJURY
O 120 Marine 310 Airplane C1 365 Personal Injury -
7 130 Miller Act €) 315 Airplane Product Product Liability
140 Negotiable Instrument Liability 0 367 Health Care/
(1 150 Recovery of Overpayment | {] 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
(1 151 Medicare Act 0) 330 Federal Employers’ Product Liability
(1 152 Recovery of Defaulted Liability © 368 Asbestos Personal
Student Loans © 340 Marine Injury Product
(Excludes Veterans) 0) 345 Marine Product Liability
C1 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits (J 350 Motor Vehicle 0 370 Other Fraud
160 Stockholders’ Suits O 355 Motor Vehicle 0) 371 Truth in Lending
190 Other Contract Product Liability O 380 Other Personal
[7 195 Contract Product Liability | ( 360 Other Personal Property Damage
01 196 Franchise Injury 385 Property Damage
CI 362 Personal Injury - Product Liability

(7 210 Land Condemnation
220 Foreclosure

CF 230 Rent Lease & Ejectment
& 240 Torts to. Land

OF 245 Tort Product Liability
£4 290 All Other Real Property

a 440 Other Civil Rights
0 441 Voting
7 442 Employment
O 443 Housing/
Accommodations
0 445 Amer. w/Disabilities -

1 446 Amer. w/Disabilities -

©) 448 Education

Habeas Corpus:
0 463 Alien Detainee
{1 510 Motions to Vacate
Sentence
1 530 General
1 535 Death Penalty
Other:
O 540.Mandamus & Other
0 550 Civil Rights
0 555 Prison Condition
(1 560 Civil Detainee -
Conditions of
Confinement

Employment

Other

or Defendant)
O 871 IRS—Third Party
26 USC 7609

1 462 Naturalization Application
0 465 Other Immigration
Actions

© 625 Drug Related Seizure O) 422 Appeal 28 USC 158 01 375 False Claims Act
of Property 21 USC 881 [0 423 Withdrawal CF 400 State Reapportionment
© 690 Other 28 USC 157 CF 410 Antitrust
CF 430 Banks and Banking
4 RS | 0 450 Commerce
1. 820 Copyrights 1 460 Deportation
0 830 Patent 1 470 Racketeer Influenced and
0. 840 Trademark Corrupt Organizations
© 480 Consumer Credit
SOCIAL SECURITY| 01 490 Cable/Sat TV
710 Fair Labor Standards 1 861 HIA (1395ff) 1 850 Securities/Commodities/
Act 862 Black Lung (923) Exchange
(1 720 Labor/Management 6 863 DIWC/DIWW (405(g)) | C1 890 Other Statutory Actions
Relations M 864 SSID Title XVI © 891 Agricultural Acts .
1 740 Railway Labor Act GF 865 RSI (405(g)) C1 893 Environmental Matters
0 751 Family and Medical O 895 Freedom of Information
Leave Act Act
1 790 Other Labor Litigation O 896 Arbitration
-}C) 791 Employee Retirement CO 899 Administrative Procedure
Income Security Act Of 870 Taxes (U.S. Plaintiff Act/Review or Appeal of

Agency Decision
950 Constitutionality of
State Statutes

Q

V. ORIGIN (Place an “X” in One

§{1 Original
Proceeding

142 Removed from
State Court

Box Only)

O 3. Remanded from
Appellate Court

o4

Reinstated or 1 5 Transferred from [6 Multidistrict
Reopened Another District Litigation
. (specify)

Cite the U.S. Civil Statute under which you are filing -@o not cite jurisdictional statutes unless diversity):

28 U.S.C 1332

VI. CAUSE OF ACTION

Brief description of cause:

BREACH OF CONTRACT, QUANTUM MERUTT STINTENTTONAL

INTERFERENCE aw 2K

VII. REQUESTED IN

O CHECK IF THIS IS A-CLASS ACTION

DEMAND $ 92,513

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes CKNo
VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE’ DOCKET NUMBER
DATE . Sj NATURE OF ATTORNEY OF RECORD
2-19-13 VET ipvdan
FOR OFFICE USE ONLY -
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

